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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division


                                                        )
  Diedra Faulkner,                                      )
                                                        )
                  Plaintiff,                            )
                                                        )
  v.                                                    )       Case No. _________________
                                                        )
  Mark Esper, Secretary,                                )
  Department of Defense,                                )
  Department of Defense Education Activity,             )
                                                        )
         Serve:                                         )
                                                        )
         Ariana Fajardo Orshan                          )
         U.S. Attorney for the Southern District        )
         of Florida                                     )
         U.S. Attorney's Office                         )
         99 N.E. 4th Street                             )
         Miami, FL 33132                                )
                                                        )
                  Defendant.                            )
                                                        )

              CIVIL COMPLAINT FOR EQUITABLE AND MONETARY RELIEF
                             AND DEMAND FOR JURY

         Plaintiff Diedra Faulkner brings this civil complaint against Secretary of Defense Mark

  Esper, alleging that the Department of Defense Education Activity (DoDEA) is unlawfully

  discriminating against her based on her relationship to her disabled daughter in violation of the

  Rehabilitation Act of 1973, 29 U.S.C. 791, et seq. (Rehab Act).


                                   JURISDICTION AND VENUE

         1.       This Court has jurisdiction over this action pursuant to the Rehabilitation Act of

  1973, 29 U.S.C. 791, et seq.

         2.       Venue is proper in this Court under 28 U.S.C. § 1391(e)(1) because DoDEA is an
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  agency of the United States government and the majority of the fact witnesses and physical

  evidence are located in Guantanamo Bay, Cuba.

                                              PARTIES

          3.      Plaintiff Diedra Faulkner is domiciled in Stafford, Virginia and works at W.T.

  Sampson School, a DoDEA school, at the Naval Station Guantanamo Bay, Cuba. Faulkner’s

  daughter—who is listed as Faulkner’s dependent and for whom she and her husband are

  caretakers—has a medically diagnosed disability and is listed as permanently disabled with

  Social Security and has a military DEERS registered identification card.

          4.      DoDEA is a civilian agency of the United States Department of Defense that

  manages schools for military-connected children in the United States and overseas.

                                    FACTUAL ALLEGATIONS


          1.      DoDEA offered Faulkner the job of middle school science and math teacher at

  W.T. Sampson School in Guantanamo Bay, Cuba, in or around June 2014.

          2.      In or around the same time, DoDEA informed Faulkner that it could include her

  daughter on her travel orders as long as Faulkner’s daughter does not need handicapped

  accessible facilities.

          3.      Faulkner’s daughter does not need handicapped accessible facilities.

          4.      At or around the same time, DoDEA informed Faulkner via email that it would

  take seven days for DoDEA to amend Faulkner’s travel orders to include Faulkner’s daughter.

          5.      But DoDEA took over seven months before it added Faulkner’s daughter to

  Faulkner’s orders.

          6.      As a consequence of that delay, Faulkner had to spend several months away from

  her daughter after Faulkner started her new job in Guantanamo Bay.
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         7.      During the time that Faulkner was away from her daughter, the assistant principal

  at Faulkner’s school, Shelman Burton, attempted to persuade Faulkner to abandon her teaching

  position, by telling her that if he were in Faulkner’s position, he would not stay in Guantanamo if

  his family was not allowed to accompany him.

         8.      It was not until on or around March 12, 2015, after Faulkner wrote a letter in or

  around January 2015 to one of her U.S. Senators, Senator Mark Warner, and Sen. Warner’s

  office submitted an inquiry on Faulkner’s behalf, that DoDEA admitted fault and quickly placed

  Faulkner’s daughter on Faulkner’s orders.

         9.      DoDEA has repeatedly treated Faulkner unfavorably in an attempt to force

  Faulkner to leave Guantanamo Bay.

         10.     In or around September 2016, a hurricane hit Cuba and all teachers’ dependents,

  even adult children not on orders, were evacuated except for Faulkner and her family.

         11.     DoDEA left Faulkner and her family on the island, while all other spouses,

  dependents, and even pets were flown by DoDEA to Jacksonville, Florida.

         12.     Upon the arrival of the evacuated families in Jacksonville, DoDEA ensured that it

  had paid for the evacuated families’ hotel and rental expenses.

         13.     Further, these families received government compensation for three weeks, which

  many families used to go on vacation to visit extended family.

         14.     Meanwhile, DoDEA instructed Faulkner to help with hurricane clean-up on Cuba.

         15.     At the time, DoDEA did not provide an explanation for why Faulkner and her

  family were treated unfairly and differently from similarly situated employees and their families.

         16.     DoDEA supervisory employees on the island who could have gotten Faulkner’s

  daughter off the island were aware of Faulkner’s daughter’s medical condition and that
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  additional extreme stress could have caused Faulkner’s daughter to be medically evacuated

  (medevac’d) off the island a few months later.

         17.     In or around September 2016, DoDEA denied medical orders for Faulkner’s

  daughter to attend a critical doctor’s appointment in Virginia to remove a recurring cyst on her

  leg after the hospital had issued medical orders.

         18.     In March 2017, Faulkner’s daughter had to be medevac’d from Cuba because of

  an emergency medical situation; and she spent 10 days at Walter Reed Hospital in Maryland

  where she was stabilized and her medication needs were reassessed.

         19.     When Faulkner’s daughter’s treatment was finished and she could return to

  Guantanamo, Faulkner needed either medical orders or simply travel orders from DoDEA to fly

  back to the island.

         20.     Guantanamo requires orders before passengers can obtain a seat on the plane.

         21.     In or around March 2017, Assistant Principal Veronica Finney sent Faulkner

  medical orders, but on the same day, DoDEA rescinded the orders.

         22.     DoDEA’s refusal to provide “no cost” orders for Faulkner to return to Cuba

  delayed Faulkner’s arrival for five days.

         23.     Faulkner was unable to fly back on the original travel date and had to extend her

  stay for five days at her own expense.

         24.     In addition, Faulkner had to use additional medical leave to cover these days.

         25.     In spring 2016, DoDEA transferred a biology and health teacher to a different

  position and then forced Faulkner to teach the biology class even though Faulkner is not certified

  to teach those classes.
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           26.   DoDEA had another teacher available, Mr. Lucidi, who was hired and certified to

  teach high school science while Faulkner was hired as a middle school teacher.

           27.    Since DoDEA requires teachers to be certified in the classes they teach, DoDEA

  forced Faulkner to take, and pay for, courses to gain certification for Biology.

           28.   At the same time, DoDEA had another teacher, Mr. Hikosaka, who was also

  uncertified to teach the health classes that he assumed. He was not required to be certified to

  teach the high school courses, nor was he made to pay for and gain certification.

           29.   But DoDEA forced Faulkner to pay, out of her own pocket, roughly $750, which

  includes course work, parking registration, and travel to the James Madison University during

  spring break, for the courses needed to get certified to teach high school biology.

           30.   Additionally, DoDEA issued Faulkner, and only Faulkner, a letter of deficiency

  which threatened to remove her from her position within one year if she was not fully certified in

  biology.

           31.   In 2017, Faulkner was again assigned to teach a chemistry class—this time in a

  non-chemistry equipped room.

           32.   Assigning Faulkner to teach chemistry in a non-chemistry approved room violated

  OSHA rules and regulations.

           33.   Other chemistry teachers were assigned to teach chemistry from C12, the

  designated chemistry room: Mr. Ochinang (in 2017), Mr. Lucidi (in 2016), and Ms. Clark (in

  2015).

           34.   In or around April 2017, a parent of a student who had been placed on a

  behavioral modification plan verbally threatened Faulkner in the presence of Assistant Principal
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  Veronica Finney and Debra Fitzgerald, the counselor who is responsible for setting up and

  attending parent teacher conferences.

          35.     Although other teachers of record were involved with this student’s behavioral

  modification plan set up by Ms. Fitzgerald, Faulkner was the only one commanded to attend the

  meeting.

          36.     During the meeting, the parent threatened Faulkner; Faulkner left the meeting and

  filed a police report.

          37.     Faulkner informed Finney of a series of harassing phone calls Faulkner had

  received from this parent.

          38.     Neither Finney nor the conference facilitator and counselor, Ms. Fitzgerald, did

  anything to intervene on Faulkner’s behalf.

          39.     Throughout Faulkner’s tenure, from September 2015 to the present, several of

  Faulkner’s supervisors (including Shelman Burton, Jenny Reese, and Emilio Garza) attempted to

  influence Faulkner to resign by telling Faulkner that she needed to leave.

          40.     In late spring 2018, Mr. Garza, the principal, removed Faulkner from her teacher-

  leader position and Continuous School Improvement Chair position without explanation, even

  though Faulkner had received an excellent performance rating.

          41.     Garza removed Faulkner from her teacher-leader position after a false allegation

  by the School Supply Assistant, Melissa Robinson, that Faulkner had stolen expensive

  equipment from Ms. Burkhardt’s room.

          42.     Although Garza wrote in an email that this false allegation should not have been

  made, he still removed Faulkner from her leadership positions.
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         43.       The false allegation against Faulkner was intentionally sent out to the DoDEA

  community, including people and non-DOD employees in Guantanamo Bay, the

  Superintendent’s office in North Carolina, and Europe, damaging Faulkner’s reputation.

         44.       In late January 2018, Faulkner broke her ankle at the school due to a broken

  concrete sidewalk.

         45.       Garza refused to allow her to take leave for therapy and doctor’s appointments,

  citing an alleged lack of available substitute teachers.

         46.       While Faulkner was on crutches as her broken ankle healed, her classroom was

  vandalized three times.

         47.       When another teacher, Anne Hawkins, broke her leg, DoDEA gave her 45 days of

  leave; Faulkner was not granted the same treatment.

         48.       In the spring semester of 2018, Garza charged Faulkner a half day of leave for

  each of the 45-minute appointments for physical therapy Faulkner needed as a result of

  Faulkner’s broken ankle.

         49.       Garza only allowed Faulkner to take one hour of leave (during her planning

  period and lunch break).

         50.       Garza charged Faulkner four hours of leave instead of the one hour that she

  actually took.

         51.       In May 2018, Faulkner led a lab exercise that included the use of acetic acid and

  baking soda.

         52.       This exercise creates a reaction that causes the acid to spew into the air, so she

  directed all students to wear safety goggles.

         53.       One student refused to wear the required goggles.
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         54.     The aide for the student left the class and was not available to remove the student

  to a safe area even though the student was supposed to receiving services during science;

  Faulkner thus instructed the student to leave the classroom.

         55.     Assistant Principal Finney came to Faulkner’s classroom to ask why the student

  was removed from Faulkner’s classroom; Finney asked Faulkner to leave Faulkner’s students in

  the lab unsupervised to discuss the matter.

         56.     Faulkner refused to leave her classroom because there were fifteen sixth graders

  performing a lab exercise with acetic acid.

         57.     Garza and Finney reprimanded Faulkner, in writing, for being “unreasonable” in

  refusing to leave her students unsupervised and alone in the lab during the experiment.

         58.     All teachers except Faulkner received their class schedules for the 2018-2019

  school year by the end of May 2018.

         59.     In or around May 2018, an unknown DoDEA employee caused a chemical spill

  int the chemical stockroom.

         60.     In or around June 2018, one of the teachers at the school, Ms. Burkhardt,

  demanded that the fire department be called so that she could block access from Faulkner’s room

  to a second emergency room exit.

         61.     When the Fire Department arrived, firefighters advised that the door from

  Faulkner’s room should not be locked or blocked, to allow easy access to fire exits, since that is

  how the building was designed and built in the 1950s..

         62.     When Finney saw the spill in the chemical stockroom, she asked Faulkner why

  Faulkner did not clean it up.
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         63.     Faulkner did not know what chemicals had been spilled, when they were spilled,

  or whether the spill was dangerous.

         64.     Finney repeated the question to Faulkner multiple times before the fire

  department chief explained that if he were to walk in and see a spill like that, he would close the

  school down.

         65.     The 2018-2019 school year is the second year in a row when Faulkner has not

  been assigned classes before the end of the prior year.

         66.     Not being assigned classes makes it impossible for a teacher to plan in advance

  and it causes a great deal of work and stress to get caught up when classes are not assigned until

  close to the start of the new school year.

         67.     No planning for laboratory materials used for experiments can be made when a

  science teacher is assigned a class in September rather than April. Since there are no vendors in

  Cuba who will ship the live materials and items at the last minute, lab experiments that are in the

  textbook ordered by DoDEA cannot be performed. A science teacher, such as Faulkner, who is

  disadvantaged by not receiving her new class schedules by the end of May is forced to scramble

  at the last minute to order and purchase materials out of her own pocket to meet the 30% lab

  requirement of DoDEA.

         68.     On September 13, 2018, Faulkner applied for leave because, after five years of

  Faulkner being stationed in Cuba and getting her daughter’s required medication from the

  pharmacy, the pharmacy was no longer carrying her daughter’s required medication.

         69.     Faulkner’s daughter’s doctor, Lt. Commander Osborne, wrote a prescription for

  the required medication for Faulkner’s daughter for Faulkner to pick up in Jacksonville, Florida,

  along with a medical note to excuse Faulkner for the time needed to acquire the medication.
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           70.   Instead of permitting Faulkner to take leave for the trip to pick up the required

  medication for her disabled daughter, Garza called Lt. Edwards, the Department Head for

  Behavioral Health at the Guantanamo Bay Naval Hospital, purportedly to determine if

  Faulkner’s daughter “really needed” the medication.

           71.   Garza was already aware of Faulkner’s daughter’s disability.

           72.   Garza then told Faulkner that Lt. Edwards said that she was not aware of a

  medication that would require Faulkner’s daughter to need emergency medical orders.

           73.   Garza also told Faulkner that instead of getting the medication, Faulkner should

  have her daughter evaluated in an emergency room.

           74.   Garza then emailed Faulkner, saying that he had spoken with the personnel at the

  hospital—who had given Garza personal and confidential medical information, including the

  type of medication that Faulkner’s daughter was taking—without Faulkner’s consent.

           75.   Garza intimated that Lt. Edwards had said that she was not “aware” of any

  psychotic medicine that constitutes a medical emergency, incorrectly implying that Faulkner’s

  daughter could go without her medicine.

           76.   Throughout October 2018, Finney harassed and retaliated against Faulkner by

  holding her to different standards than other similarly situated employees, and she did so in an

  attempt to coerce Faulkner to quit her job.

           77.   On or around October 12, 2018, Finney falsely accused Faulkner of not having

  her lessons plans in an easily accessible place, and for teaching an unapproved class.

           78.   Finney demanded to see Faulkner’s “A day” plan book (which was on Faulkner’s

  desk).
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         79.     When Faulkner provided the “A day” plan book, Finney said she “needed the ‘B

  day’ plan book now!”

         80.     Faulkner had been taking her plan book home at the end of each day because

  students had somehow gained access to quiz and test materials and she did not want to leave her

  plan books inside the classroom.

         81.     Faulkner’s husband was forced to leave their disabled daughter home alone to

  retrieve the plan book, which disrupted Faulkner’s daughter’s daily schedule.

         82.      Finney eventually admitted that Faulkner’s plans were accessible.

         83.     Finney also eventually admitted that Faulkner was teaching an approved class.

                                            COUNT I
                     Unlawful Disability Discrimination Based on Association
                      The Rehabilitation Act of 1973, 29 U.S.C. 791, et seq.

         84.     Faulkner’s daughter, who is Faulkner’s dependent, has a disability that is

  registered with Social Security and the military DEERS system, with a dependent ID card.

         85.     Throughout the time Faulkner was applying to work at Guantanamo Bay, and

  during the several years she has worked in Cuba, DoDEA and Faulkner’s direct supervisors in

  DoDEA were aware of her daughter’s disability.

         86.     DoDEA has repeatedly treated Faulkner differently and adversely because of her

  relationship to and association with her disabled daughter.

         87.     By denying Faulkner’s requested leave, altering her work responsibilities,

  requiring her to pay for the necessary certifications to remain employed after those alterations,

  failing to evacuate her and her family during a hurricane, and subjecting her to constant

  harassment by DoDEA leadership in an attempt to coerce into resigning, DoDEA has subjected

  Faulkner to a series of adverse employment actions.
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         88.     DoDEA has taken these adverse actions against Faulkner based on her association

  with her disabled daughter.

                                      PRAYER FOR RELIEF


         WHEREFORE, Plaintiff Diedra Faulkner respectfully requests that the Court enter

  judgment in her favor and award to her the following relief:


         A.      Judgment against Defendant DoDEA in an amount of any wages, salary,

  employment benefits, or other compensation denied or lost to Faulkner, including economic

  damages, liquidated damages, and compensatory and punitive damages to be determined at trial;

         B.      Re-employment, reinstatement, promotion, front pay, or other equitable relief;

         C.      Pre-judgment interest;

         D.      Interest due on unpaid wages;

         E.      A reasonable attorney’s fee and costs of this litigation;

         F.      Reasonable expert witness fees; and

         G.      Any other relief that this Honorable Court deems just and proper to award.

                                          JURY DEMAND

         Plaintiff demands a jury for all issues proper to be so tried.

  Dated: August 23, 2019                         Respectfully submitted,

                                                  /s/ R. Scott Oswald
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